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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA
                                                        NO. 3:19-CR-083-M
v.

RUEL M. HAMILTON


                            GOVERNMENT’S WITNESS LIST

          The government reserves the right to supplement this list.

 No.              Witness              (R)             Summary             Probable/Possible
                                    Records                                    Witness
                                   Custodian
                                   (E) Expert
     1.      Malachi Waples                      FBI Agent who will            Probable
                                                 testify about the
                                                 investigation of
                                                 Hamilton and co-
                                                 conspirators Carolyn
                                                 Rena Davis and
                                                 Jeremy Scroggins
     2.      Bernadette                          Former City of                Probable
             Mitchell                            Dallas Housing
                                                 Director who will
                                                 testify about the case,
                                                 including LIHTC,
                                                 Hamilton’s Royal
                                                 Crest project, and
                                                 Davis’ conduct
     3.      Bilierae Johnson                    City of Dallas                Probable
                                                 Secretary who will
                                                 testify about the case,
                                                 including Davis’
                                                 financial disclosures
                                                 and the 2018 sick
                                                 leave petition


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     4.    Jeremy Scroggins               Co-conspirator who        Probable
                                          will testify about the
                                          case including
                                          facilitating the
                                          payment of bribes
                                          from Hamilton to
                                          Davis through his
                                          non-profit
     5.    Dwaine Caraway                 Will testify about        Probable
                                          bribes received from
                                          Hamilton
     6.    Michael Rawlings               Former Mayor who          Probable
                                          will testify about
                                          Dallas City Council
                                          procedures and votes
     7.    Vanessa Casterline             FBI analyst will          Probable
           Ashley Groover                 testify about
                                          Hamilton’s bribe
                                          payments, campaign
                                          contributions,
                                          associated bank
                                          accounts and
                                          financial transactions
     8.    Chumnan Jim                    HUD Agent will            Probable
           Sangsvang                      testify about HUD
                                          funds to the City of
                                          Dallas and Royal
                                          Crest
     9.    Shirley Henley                 HUD representative        Probable
                                          will testify about
                                          HUD funds to the
                                          City of Dallas and
                                          Royal Crest
     10.   Mark Sedwick                   FBI Agent will            Probable
                                          testify about cell
                                          tower location data
                                          regarding Hamilton
                                          and Davis
     11.   Phillip Stephenson             FBI Agent will            Probable
                                          testify about
                                          Hamilton’s bribery of
                                          Caraway



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     12.   Eric Tighe                         FBI Agent will            Probable
                                              testify about
                                              Hamilton’s bribery of
                                              Caraway
     13.   Brook Boston or                    TDHCA                     Probable
           Tom Gouris                         representative will
                                              testify about
                                              Hamilton’s project
                                              and tax credits
     14.   Veronica Perez                 R   Amegy Bank                Probable
                                              custodian will testify
                                              about Hamilton’s
                                              bank records and
                                              surveillance
     15.   Marcos Duran                       Former teller at           Possible
                                              Amegy bank will
                                              testify about
                                              Hamilton’s cash
                                              withdrawal
     16.   custodian                      R   Sovereign Bank             Possible
                                              custodian will testify
                                              about Hamilton’s
                                              bank records
     17.   custodian                      R   Scroggins’ bank            Possible
                                              records
     18.   Patrick Jackson                    Former City of             Possible
                                              Dallas employee will
                                              testify about the
                                              MLK Center and
                                              Freedom Ride Tours
     19.   John Koressell                     FBI employee will          Possible
                                              testify about FBI
                                              surveillance of
                                              Hamilton and Davis
     20.   Shae Petty                         FBI employee will         Probable
                                              testify about FBI
                                              surveillance of
                                              Hamilton and Davis
     21.   Anne Peters                        Will testify about         Possible
           Ex Dir of Texas                    campaign finance
           Election                           law
           Commission


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     22.   Heath Harris                   Will testify about         Possible
                                          representation of
                                          Davis
     23.   Scottie Allen                  Will testify about         Possible
                                          representation of
                                          Davis
     24.   Marion L Speer                 Will testify about        Probable
                                          Hamilton’s tax
                                          returns
     25.   Andrew Bishop                  IRS Agent will             Possible
                                          testify about
                                          Hamilton’s tax
                                          returns
     26.   Christy Wiggins                Will testify about        Probable
                                          Hamilton’s campaign
                                          contributions
     27.   Kristi Bonner                  Will testify about        Probable
                                          Hamilton’s campaign
                                          contributions
     28.   Jennifer Muegel                Will testify about        Probable
                                          Hamilton’s campaign
                                          contributions
     29.   Leslie Martin                  Will testify about        Probable
                                          Hamilton’s campaign
                                          contributions
     30.   Teresa Jones                   President of Fruitdale     Possible
                                          Community
                                          Improvement
                                          Organization will
                                          testify about
                                          Hamilton’s Royal
                                          Crest project
     31.   Eric Schwethelm                FBI Agent will             Possible
                                          testify about the wire
                                          intercepts of Davis’
                                          phones
     32.   Jamaal King                    FBI Agent will             Possible
                                          testify about the wire
                                          intercepts and toll
                                          records




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     33.   Daniel Jones                   USPO will testify          Possible
                                          about Davis’
                                          presentence interview
     34.   Devin Hall                     Will testify about the     Possible
                                          bribes he paid
                                          Hamilton
     35.   Mark Huber                     FBI employee will          Possible
                                          testify about FBI
                                          surveillance of
                                          Hamilton and Davis
     36.   UCE - 5271                     Will testify about         Possible
                                          interactions with
                                          Davis
     37.   UCE - 3154                     Will testify about         Possible
                                          interactions with
                                          Davis
     38.   Leon Lukin                     FBI employee will          Possible
                                          testify about FBI
                                          surveillance of
                                          Hamilton and Davis
     39.   Jackie Northrup                Will testify to certain    Possible
                                          audio quality
                                          enhancements
     40.   Lori Keefer                    FBI employee will         Probable
                                          testify about FBI
                                          surveillance of
                                          Hamilton and Davis
     41.   Brent Stewart                  TDHCA                      Possible
                                          representative will
                                          testify about
                                          Hamilton’s project
                                          and tax credits
     42.   Diane Ramsey                   FBI employee will          Possible
                                          testify about the Pen
                                          Register Data and
                                          Toll Records
     43.   IRS Collections                Will testify               Possible
           Agent – Individual             concerning tax liens
           to be determined               against Hamilton-
                                          owned entities




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Respectfully submitted,


                                          ERIN NEALY COX
                                          United States Attorney

                                          /s/ Andrew Wirmani
                                          Andrew O. Wirmani
                                          Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2020, I electronically filed the foregoing

document with the Clerk of Court for the United States District Court, Northern District

of Texas, using the electronic case filing system of the Court. The electronic case filing

system sent a “Notice of Electronic Filing” to all attorneys who have consented in writing

to accept this Notice as service of this document.


                                          /s/ Andrew Wirmani
                                          Andrew O. Wirmani
                                          Assistant United States Attorney




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